
Merwin, J.
Upon the trial before the jury the defendant, Clarence Andrews, was called as a witness on behalf of the defendants, and, having testified, among other things, that he was a son of Josiah Andrews, deceased, and was appointed administrator of his estate in May, 1884, was asked the question: “ After the death of your father, did Mr. Tinker present any claim to you against your father’s estate.” This was objected to by the plaintiffs on the ground that the witness was incompetent and disqualified to testify by § 829 of the Code. The objection was *212overruled and the plaintiffs excepted. The answer was, “No, sir; he made no claim for anything due upon this contract to me.”
By this ruling, the witness, who was an interested party defendant, was permitted, in his own behalf, to negative the existence of a transaction between himself and the plaintiffs’ intestate. This was not admissible. Clift v. Moses, 112 N. Y., 427; 21 N. Y. State Rep., 777.
It is, however, suggested that the trial in this case before the jury was not “the trial of an action” within the provision of § 829 of the Code. It was certainly a part of the trial; it was the judicial investigation of the main issue upon the merits. Its result was accepted by the court before whom the trial was completed. No reason is apparent why the provision of the Code should not apply. ' :
It is further suggested that the verdict is substantially right, and that the evidence, without the objectional part above referred to, is sufficient to sustain it.
It appears that the contract was executed in duplicate, each having a copy. Upon each of these some payments were endorsed. There were also payments from sales of certain portions of the premises, and about five acres were taken back by Tinker in 1868 at a certain price, which was endorsed.
Andrews also made some payments on mortgages that were on the premises,-and were to be paid out of the purchase money. After applying all payments shown to have been so made, and deducting the amount of a mortgage still on the premises, there would still have remained, at the time of the death of Andrews, quite a large balance due on the contract; from eight to ten hundred dollars. Additional evidence was given from which it was claimed as matter of inference that the whole was paid.
The defendant Clarence Andrews testified that upon three occasions shortly prior to the death of Andrews, Tinker called upon the deceased, and wanted to borrow small sums of money, and received at one of such times ten dollars, and on each of the other occasions twenty dollars. Another witness testified that in the summer of 1885 Tinker said that “when the papers at the bank were paid up, Mr. Andrews was to have had his deed, and he was sorry he had not given it to him before Mr. Andrews died; sorry it had not been settled up before Mr. Andrews died.” There was a mortgage on the property held by a savings bank, which was satisfied in 1882, to which, it was claimed, this conversation referred.
Another witness testified that soon after a sale of a portion of the premises to one Behr, from the' proceeds of which the savings bank mortgage was paid, she called on Tinker for payment of a debt, and he said, among other things, “that place is all paid for,” referring, as it is claimed by defendants, to the Andrews place in question, although, from the cross-examination of the witness, the inference is quite strong that reference was only made to that part which had been sold.
The defendants also read in evidence a portion of a deposition of the plaintiff Amanda Tinker, in which she testified that *213after Mr. Andrews died, Mr. Tinker said “ that Mr. Andrews was to have had a deed when the Behr matter was settled up, and he wished he had given it to him.” The balance of this deposition was read by the plaintiffs, and it showed quite clearly from statements of Mr. Tinker that there had never been any settlement between Andrews and Tinker of the amount due on the contract, and that Tinker didn’t know how much was due. She also testified that Mr. Andrews and her husband never settled up the contract.
The foregoing, with the objectional evidence above stated, was substantially the evidence from which the jury inferred that the whole was paid. Clearly there was never any settlement between the parties. The burden of showing payment was on the defendants. In view of the apparently large balance unpaid, it may be said with considerable force that the evidence to sustain a finding that in some unknown way it was fully paid was, to say the least, not very strong.
This being the situation, the evidence of the defendant Andrews that Tinker made no claim against the estate of Josiah Andrews would naturally be deemed by the jury to be important, and we cannot say that it probably had no influence upon them in arriving at their verdict.
On the part of plaintiffs, it was shown that in 1872 Andrews was insolvent and testified in proceedings supplementary to execution that he had not been able to keep up the interest on the contract; that in 1882 and 1883 he stated to several persons, in substance, that there was a large amount due on the contract, more than the farm was worth. Andrews was a justice of the peace and town clerk, and had no business except working this farm. Tinker kept a store and there was an unsettled account between him and Mr. Andrews.
Under § 1003 of the Code, an error in the admission of evidence may, in a case of this kind, be disregarded if the court is of opinion that substantial justice does not require that a new trial should be granted. The evidence in this case is not sufficiently satisfactory to enable us to fairly say that substantial justice is done by the finding that the contract was fully paid up.
Judgment and order reversed upon the exceptions and new trial ordered, costs to abide the event.
Hardin, P. J., and Martin, J., concur.
